 Case 1:19-cv-00477-CFC Document 7 Filed 03/21/19 Page 1 of 4 PageID #: 139



                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE


VIRTUAL IMMERSION
TECHNOLOGIES LLC,

                 Plaintiff,

     v.                                  C.A. No. 1:18-cv-01350-CFC

SURECOM CORPORATION NV,
d/b/a CAM4,

                 Defendant.


VIRTUAL IMMERSION
TECHNOLOGIES LLC,

                 Plaintiff,

     v.                                  C.A. No. 1:18-cv-01351-CFC

SINE WAVE ENTERTAINMENT,
LTD.,

                 Defendant.

VIRTUAL IMMERSION
TECHNOLOGIES LLC,

                 Plaintiff,

     v.                                   C.A. No. 1:19-cv-00429-CFC

ATLAS ENTERTAINMENT LLC,
dba ATLAS ENTERTAINMENT,

                 Defendant.




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VIRTUAL IMMERSION
TECHNOLOGIES LLC,

                 Plaintiff,

      v.                                  C.A. No. 1:19-cv-00430-CFC

THE COCA-COLA COMPANY,

                 Defendant.

VIRTUAL IMMERSION
TECHNOLOGIES LLC,

                 Plaintiff,
                                          C.A. No. 1:19-cv-00431-CFC
      v.

HONEYWELL INTERNATIONAL, INC.,

                 Defendant.

VIRTUAL IMMERSION
TECHNOLOGIES LLC,

                 Plaintiff,

      v.                                  C.A. No. 1:19-cv-00433-CFC

STERIS plc,

                 Defendant.

VIRTUAL IMMERSION
TECHNOLOGIES LLC,

                 Plaintiff,

      v.                                  C.A. No. 1:19-cv-00436-CFC

GENERAL ELECTRIC COMPANY, et al.,

                 Defendants.




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VIRTUAL IMMERSION
TECHNOLOGIES LLC,

                       Plaintiff,

         v.                                              C.A. No. 1:19-cv-00477-CFC

MATTEL, INC.,

                       Defendant.


                   RULE 7.1 CORPORATE DISCLOSURE STATEMENT

         Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Plaintiff Virtual Immersion

Technologies LLC declares that it is a limited liability company having no stock, and thus has no

parent corporation and no publicly traded corporation who currently owns 10% or more of its

stock.

Dated: March 21, 2019                                DEVLIN LAW FIRM LLC

                                                     /s/ Timothy Devlin
                                                     Timothy Devlin (No. 4241)
                                                     Patrick R. Delaney (pro hac vice)
                                                     1306 N. Broom Street, 1st Floor
                                                     Wilmington, DE 19806
                                                     Phone: (302) 449-9010
                                                     tdevlin@devlinlawfirm.com
                                                     pdelaney@devlinlawfirm.com

                                                     Attorney for Plaintiff Virtual Immersion
                                                     Technologies LLC




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                               CERTIFICATE OF SERVICE
        I hereby certify that on March 21, 2019, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.


                                            /s/ Timothy Devlin
                                            Timothy Devlin




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